RECEIVED

UNITED STATES COURT OF APPEALS 4); 019
FOR THE NINTH CIRCUIT —
Glerk, U.S. District Court

Form 4. Motion and Affidavit for Permission to Proceed in ForivtPatepéFis

Instructions for this form: http://www.ca9.uscourts.gov/forms/form04instructions.pdf

 

 

9th Cir. Case Number(s)

 

 

Case Name |George E. Buscher, Lois L. Buscher v. Barbara Tangwall, et.al.

 

 

 

Affidavit in support of motion: I swear under penalty of perjury that I am
financially unable to pay the docket and filing fees for my appeal. I believe my
appeal has merit. I swear under penalty of perjury under United States laws that
my answers on this form Bega and eee 28 U.S.C. § 1746; 18 U.S.C. § 1621.

Signatur.) Ly viaadee wat Date |7-10-19

The court may grant a w otion to proceed in forma pauperis if you show that you
cannot pay the filing fees and you have a non-frivolous legal issue on appeal.
Please state your issues on appeal. (attach additional pages if necessary)

 

 

 

 

 

 

 

 

 

Our issues on appeal are:

1. The Court's order of remand at page 8 of attached Exhibit A, found the action
is remanded to the District Court case no: 4FA-19-01974CI for lack of
jurisdiction.

2. Then the Court decided to deny as moot all pending motions. Motion seems to
include our answer, counter-claim, third party complaint, motion for a rule to
show cause, emergency application and supplement to motion to show cause. See
pages 4 & 5 of attached Exhibit C which is evident by the Court changing the
caption on the case on the Order of Remand.

3. The Court cannot have it both ways, either they don't have jurisdiction and the
case in its entirity is remanded or they have jurisdiction to rule on what they call
pending motions and the removal must be allowed to go forward.

4. We filed a motion for clarification and reconsideration, see attached Exhibit C,
the Court chose not to address the motion but once again deny the motion
pursuant to the vexatious order. See attached Exhibit B.

5. The vexatious order is under review in Case No. 19-35370.

6. The Court has bifurcated the issues for an appeal which issues are appealable
to the State Court and which to the 9th Circuit. The order of remand is wrong.

 

 

 

Feedback or questions about this form? Email us at /ovins@cu") uscourts gov

 

Form 4 Case 4:19-cv-00018-SLG Documeft 13 Filed 07/11/19 Page Ref. 16/01/2018
1. For both you and your spouse, estimate the average amount of money received from each of the following
sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
for taxes or otherwise.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

P Average monthly amount during Amount? ted next th
the past 12 months unt expected next mon
Income Source You Spouse You Spouse
Employment $ $ $ | $ |
Self-Employment $ $ $ $
Income from real property § § §
(such as rental income) $
Interest and Dividends $ $ $ $
Gifts $ $ | $ $
Alimony $ {100.00 $ $ 100.00 $
Child Support g $ $ $
Retirement (such as social security, § $ § $
pensions, annuities, insurance)
Disability (such as social security, $ [255.00 $ 1630.00 $ 1255.00 $ 1630.00
insurance payments) : : : :
Unemployment Payments $ $ $ $
Public-Assistance (such as welfare) $ $ $ $
Other (specify) |Alaska PFD $ |1,600.00 $ [330.00 $ $
TOTAL MONTHLY INCOME: $ {1,955.00 $ |960.00 $ |355.00 $ |630.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2H ONES, SOY

Feedback or questions about this form? Email us at formixtinua®

Form 4 Case 4:19-cv-00018-SLG Doctiment 13 Filed 07/11/19 Page 2 of Re. 12/01/2018
 

 

2. List your employment history for the past two years, most recent employer first.

(Gross monthly pay is before taxes or other deductions.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dates of Gross Monthly
Employer edduess Employment Pay
From
NONE ¢
To
From
s[
To
From
$
To
From
$
To

 

3. List your spouse's employment history for the past two years, most recent employer Sirst.

(Gross monthly pay is before taxes or other deductions.)

 

Employer

Address

Dates of

Employment

Gross Monthly
Pay

 

 

 

NONE

From

 

 

 

 

To

 

|

 

 

 

From |

 

 

 

To

 

 

 

 

 

 

 

 

From

 

 

 

To

 

 

 

 

 

 

 

 

From

 

 

 

 

 

 

 

 

to | |

 

 

 

 

Form 4

Feedback or questions about this form? Email us at formpice9.uscoturts. sry

Case 4:19-cv-00018-SLG Docdment13 Filed 07/11/19 Page 3 of R&. 12/01/2018

 

 

 
 

Other Assets

Value

 

 

 

 

 

 

 

 

 

 

|

 

 

 

 

 

 

 

|

 

 

 

—

 

6. State every person, business, or organization owing you or your spouse money, and the amount owed.

 

—

Person owing you or your spouse

Amount owed to you

Amount owed to your spouse

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$ $
$ $
$ $

 

 

 

 

 

 

 

 

7, State the persons who rely on you or your spouse for support. If a dependent is a minor, list only the initials

and not the full name.

 

Name

Relationship

Age

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Feedback or questions about this form? Email us at foriisttca isco TS. 20V

Form 4 Case 4:19-cv-00018-SLG Document 13 Filed 07/11/19 Page 4 of R@. 12/01/2018

 

 

 
8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the

monthly rate.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Taxes (not deducted from wages or included in mortgage payments)

 

 

 

Specify

 

 

 

 

You Spouse

Rent or home-mortgage payment (include lot rented for mobile home) 0 $ Io
- Are real estate taxes included? C Yes (No |
- Is property insurance included? (Yes CNo
Utilities (electricity, heating fuel, water, sewer, and telephone) 30.00 | $
Home maintenance (repairs and upkeep) | $
Food $ |200.00
Clothing 25.00 $ [25.00
Laundry and dry-cleaning () $ . |
Medical and dental expenses 75.00 $ |100.00
Transportation (not including motor vehicle payments) | $ |
Recreation, entertainment, newspapers, magazines, etc. $
Insurance (not deducted from wages or included in mortgage payments)

- Homeowner's or renter's | $

- Life | $ (90.00

- Health | $

- Motor Vehicle | $

- Other | $

|

_

 

 

Feedback or questions about this form? Email us at foriistiicn UP UNUOUEES, EY!

aia Case 4:19-cv-00018-SLG Docfiment 13 Filed 07/11/19 Page 5 offtep. 12/01/2018

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

You Spouse

Installment payments

- Motor Vehicle $ $

- Credit Card (name) $ $

- Department Store (name) $ $
Alimony, maintenance, and support paid to others $ $
Regular expenses for the operation of business, profession, or farm g | §
(attach detailed statement) _|
Other (specify) $ $

TOTAL MONTHLY EXPENSES | $ |130.00 $ }450.00

 

 

 

 

 

 

9. Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during
the next 12 months? C Yes @No

If Yes, describe on an attached sheet.

10. Have you spent—or will you be spending—any money for expenses or attorney fees in connection with this
lawsuit? @Yes CNo

 

If Yes, how much? $ /400.00

 

 

 

11. Provide any other information that will help explain why you cannot pay the docket fees for your appeal.

 

 

 

12. State the city and state of your legal residence.

 

 

 

 

 

 

 

 

 

 

 

 

 

City [Fairbanks State |Alaska |

Your daytime phone number (ex., 415-355-8000) |907-888-7087 |

Your age 70 | Your years of schooling |14 |
Feedback or questions about this form? Email us at loiusi@caY uscotris, ve

 

Form 4 Case 4:19-cv-00018-SLG Document 13 Filed 07/11/19 Page 6 of R@v. 12/01/2018

 

 
Barbara Tangwall, individually, Donatd [ EC E IV
Tangwall, individually, Barry Donneltan in his individual capacity E D

As Co-Trustee of the Toni 1 Trust and

Co-Tmustee of the Halibut Trust J UN 2 4 2019

PO Box 140118

Salcha, Alaska 99714 Clerk, U.S, District Court
907-322-4960 (Barry) Fairbanks, AK
907-888-7087(Barb)

907-460-4745(Don)

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF ALASKA

GEORGE E. BUSCHER, LOIS L.
BUSCHER,

Plaintiffs,

Vv. Case No: 4-19-cv-000018-SLG

BARBARA TANGWALL, DONALD
TANGWALL and any other occupants

of any portion of 11925/11901 Flyway Court,
Salcha, AK,

Defendants and Third
Party Plaintiffs,

Vv.

YUKON TITLE COMPANY, INC.,
An Alaska Corporation,

Third Party Defendant.
MOTION FOR CLARIFICATION AND RECONSIDERATION

NOW COME the Defendants and Third Party Plaintiffs in their capacities as stated and
show their motion as follows:

I. On May 31, 2019, this Court obtained jurisdiction of this case via the notice of

Ex.C

Case 4:19-cv-00018-SLG Document 13 Filed 07/11/19 Page 7 of 10

Bb
2. On June 14, 2019, this Court sua sponte decided it did not have jurisdiction and
remanded the case back to the state court.

3. On June 14, 2019, this Court, after remanding the case for lack of jurisdiction,
denied all pending motions as moot.

4. One of the reasons for remand was that Barbara Tangwall had not filed the
original complaint from the state court action. The original complaint from the state court
action was not filed because the Defendants were never served a copy of the complaint.
A person is only obligated to file papers per the removal statute which they have been
served.

5. This Court had decided it did not have subject matter jurisdiction. It then denied
pending motions as moot. The Court erred when on one hand it says it does not have
jurisdiction and then it invokes jurisdiction to deny all pending motions as moot. The
Court cannot have it both ways. Either the Court does not have jurisdiction and remands
the case to the State Court with no decision on pending motions or the Court has
jurisdiction to rule on all pending motions and the remand for lack of jurisdiction is
improper. We need clarification.

6. The Movants remind the Court that companion case number 4:19-cv-0001 1 MMS
is for a violation of civil rights involving property rights. It appears by this Court’s order
of remand that the Movants are being further deprived of their civil rights.

7. Once the Court made the decision to remand back to the state for lack of
jurisdiction the Court no longer had the authority or jurisdiction to rule on any
motions in this case. This Court was done.

WHEREFORE, this Pro Se removal must be liberally construed. Either the order of
remand should be set aside because the Court does have jurisdiction or all orders
dismissing pending motions, which were dismissed as being moot, must be set aside

because the Court-lacks jurisdiction.
J /
4 J

 

 

enn Sh
Ms be tee Jl At pace Teun Oonekline
‘Barbara Tangwall “ __ Barry Dgnnellan
| _ go
So -a9t O |
a Chong nel !- L€mp PF

 

Donald Tangwall /

Case 4:19-cv-00018-SLG Document 13 Filed 07/11/19 Page 8 of 10
CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was sent to all parties via first class mail, postage pre-paid on this 24"
day of June.

George E. Buscher
PO Box 83696
Fairbanks, Alaska 99708

Lois L. Buscher
PO Box 83696
Fairbanks, Alaska 99708

Christopher E. Zimmerman
711 Gaffney Street

Suite 202

Fairbanks, Alaska 99701

Patrick Hammers
101 Lacey Street____
Fairbanks, Alaska 99701
f f
A fo
Lv if, EE Meee ¢
/ Barbara Tangwall </
/

—_

 

Case 4:19-cv-00018-SLG Document 13 Filed 07/11/19 Page 9 of 10
4, How much cash do you and your spouse have? $

 

Below, state any money you or your spouse have in bank accounts or in any other financial institution.

 

Financial Institution

Type of Account

Amount You Have

Amount Your Spouse
Has

 

 

 

Denali Federal Credit Unior|| |joint

200.00

 

$ [200.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

If you are a prisoner seeking to appeal a judgment in a civil action or proceeding, you must attach a
statement certified by the appropriate institutional officer showing all receipts, expenditures, and balances
during the last six months in your institutional accounts. If you have multiple accounts, perhaps because
you have been in multiple institutions, attach one certified statement of each account.

5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

household furnishing.
Home Value Other Real Estate Value
$ $
Motor Vehicle 1: Make & Year Model Registration # Value
1996 FORD $ 11,500.00
Motor Vehicle 2: Make & Year Model Registration # Value
$

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Feedback or questions about this form? Email us at jovrmstiiea? uscotris cov

 

Form 4 Case 4:19-cv-00018-SLG Docufnent 13 Filed 07/11/19 Page 10 offay. 12/01/2018

 

 

 
